             Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 1 of 24 Page ID #:221



                      1 ANTHONY J. OLIVA (BAR NO. 123971)
                        MICHAEL R. FARRELL (BAR NO. 173831)
                      2 STACEY A. VILLAGOMEZ (BAR NO. 317081)
                        ALLEN MATKINS LECK GAMBLE
                      3 MALLORY & NATSIS LLP
                        865 South Figueroa Street, Suite 2800
                      4 Los Angeles, California 90017-2543
                        Phone: (213) 622-5555
                      5 Fax: (213) 620-8816
                        E-Mail: toliva@allenmatkins.com
                      6         mfarrell@allenmatkins.com
                                svillagomez@allenmatkins.com
                      7
                        DANIEL T. STABILE
                      8 SHUTTS & BOWEN LLP
                        200 South Biscayne Boulevard, Suite 4100
                      9 Miami, Florida 33131
                        Phone: (305) 415-9063
                     10 Fax: (305) 347-7714
                        E-mail: DStabile@shutts.com
                     11 Appearing Pro Hac Vice
                     12 Attorneys for Defendants
                        FOUNTAINHEAD SBF LLC and
                     13 FOUNTAINHEAD COMMERCIAL
                        CAPITAL, LLC
                     14
                     15                                   UNITED STATES DISTRICT COURT
                     16                              CENTRAL DISTRICT OF CALIFORNIA
                     17
                     18 ELIZABETH M. BYRNES, INC., a                    Case No. 2:20-cv-04149-DDP (RAOx)
                        corporation, on behalf of itself and all
                     19 other similarly situated,                       DEFENDANTS FOUNTAINHEAD
                                                                        SBF LLC'S AND FOUNTAINHEAD
                     20                      Plaintiff,                 COMMERCIAL CAPITAL, LLC'S
                                                                        REPLY MEMORANDUM OF LAW
                     21               vs.                               IN FURTHER SUPPORT OF
                                                                        MOTION TO DISMISS FIRST
                     22 FOUNTAINHEAD COMMERCIAL                         AMENDED CLASS ACTION
                        CAPITAL, LLC; and DOES 1 through                COMPLAINT
                     23 10, inclusive,
                                                                        Date: September 14, 2020
                     24                      Defendant.                 Time: 10:00 a.m.
                                                                        Judge Hon. Dean D. Pregerson
                     25                                                 Ctrm: 9C
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                     27
                     28
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   Mallory & Natsis LLP
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             Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 2 of 24 Page ID #:222



                      1                                                TABLE OF CONTENTS
                      2                                                                                                                             Page
                      3 I.            INTRODUCTION ........................................................................................... 1
                      4 II.           ARGUMENT .................................................................................................. 4
                      5               A.       The Court May Properly Consider the Entirety of the
                                               Communications that the Plaintiff Failed to Attach to the
                      6                        Complaint .............................................................................................. 4
                      7               B.       The Plaintiff's Theories of Recovery Are Fundamentally
                                               Defective ............................................................................................... 5
                      8
                                      C.       Count I (Fraudulent Concealment) Fails as a Matter of
                      9                        Law Because Fountainhead Did Not Owe a Duty to
                                               Disclose and Because There Was No Justifiable Reliance ................. 10
                     10
                                      D.       Counts II and III Are Also Legally Defective .................................... 14
                     11
                                               i.       The Plaintiff Failed to Plead the Lack of An
                     12                                 Adequate Remedy at Law, So the Equitable
                                                        Statutory Claims Are Subject to Dismissal Under
                     13                                 Sonner ....................................................................................... 14
                     14                        ii.      Count II Fails to State a Claim Under Any Prong of
                                                        the UCL..................................................................................... 16
                     15
                                               iii.     Count III Fails to State a Claim for a Violation of
                     16                                 the FAL, for Several Reasons ................................................... 19
                     17 III.          CONCLUSION ............................................................................................. 19
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
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                            1218505.01/LA      MOTION TO DISMISS FIRST AMENDED CLASS ACTION COMPLAINT
             Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 3 of 24 Page ID #:223



                      1                                        TABLE OF AUTHORITIES
                      2                                                                                                          Page(s)
                      3 Cases
                      4 Balzer v. Wal-Mart Stores, Inc.,
                              2015 WL 13828418, at *3 (C.D. Cal. Feb. 25, 2015) ................................... 16
                      5
                        Berryman v. Merit Prop. Mgmt., Inc.,
                      6       152 Cal. App. 4th 1544 (4th Dist. 2007) ....................................................... 18
                      7 Buller v. Sutter Health,
                              160 Cal. App. 4th 981 (1st Dist. 2008) ......................................................... 18
                      8
                        Burch v. CertainTeed Corp.,
                      9       34 Cal. App. 5th 341 (1st Dist. 2019) ........................................................... 11
                     10 F.D.I.C. v. Tarkanian,
                              2010 WL 3932074, at *7 (S.D. Cal. Oct. 5, 2010)........................................ 12
                     11
                        Hernandez v. Wells Fargo & Co.,
                     12       2019 WL 3891342, at *4 (N.D. Cal. Aug. 19, 2019) .............................. 11, 12
                     13 Hodson v. Mars, Inc.,
                               891 F.3d 857 (9th Cir. 2018) ......................................................................... 19
                     14
                        In re Tobacco Cases II,
                     15        240 Cal. App. 4th 779 (4th Dist. 2015) ......................................................... 15
                     16 Kwikset Corp. v. Superior Court,
                             51 Cal. 4th 310 (2011) ................................................................................... 15
                     17
                        Mackell v. Wells Fargo Home Mortg.,
                     18      2017 WL 373077, at *7 (N.D. Cal. Jan. 26, 2017) ....................................... 11
                     19 Marder v. Lopez,
                             450 F.3d 445 (9th Cir. 2006) ........................................................................... 5
                     20
                        Monaco v. Bear Stearns Residential Mortg. Corp.,
                     21      2010 WL 11460004, at *3 (C.D. Cal. May 13, 2010)................................... 13
                     22 N.K. Collins, LLC v. William Grant & Sons, Inc.,
                              2020 WL 4043976 (D. Haw. July 17, 2020) ................................................. 16
                     23
                        Nymark v. Heart Fed. Sav. & Loan Assn.,
                     24       231 Cal. App. 3d 1089 (3d Dist. 1991) ......................................................... 11
                     25 Palmer v. Apple Inc.,
                               2016 WL 1535087, at *7 (N.D. Cal. Apr. 15, 2016) .................................... 19
                     26
                        Profiles, Inc. v. Bank of Am. Corp.,
                     27        2020 WL 1849710 (D. Md. Apr. 13, 2020) ............................................ 6, 7, 8
                     28 Raceway Properties, LLC v. LSOF Carlsbad Land L.P.,
       LAW OFFICES
                             157 F. App'x 959 (9th Cir. 2005) .................................................................. 16
Allen Matkins Leck Gamble                                                -3-
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                            1218505.01/LA     MOTION TO DISMISS FIRST AMENDED CLASS ACTION COMPLAINT
             Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 4 of 24 Page ID #:224



                      1                                                                                                                 Page(s)
                      2 Romero v. Countrywide Home Loans, Inc.,
                             2011 WL 445956, at *4 (N.D. Cal. Feb. 3, 2011) ......................................... 12
                      3
                        Sonner v. Premier Nutrition Corp.,
                      4      2020 WL 4882896 (9th Cir. June 17, 2020) ..................................... 14, 15, 16
                      5 Warner v. Tinder Inc.,
                             105 F. Supp. 3d 1083 (C.D. Cal. 2015)......................................................... 18
                      6
                        Wright v. Allstate Ins. Co. of California,
                      7      2015 WL 1548949, at *2 (N.D. Cal. Apr. 7, 2015) ........................................ 5
                      8 Statutes
                      9 Coronavirus Aid, Relief, and Economic Security (CARES) Act .................. 3, 6, 7, 8
                     10 15 U.S.C. § 52(a) ............................................................................................... 16, 17
                     11 Cal. Fin. Code § 22100(a).................................................................................... 9, 16
                     12 Cal. Fin. Code § 22162(a).......................................................................................... 9
                     13 CARES Act § 1102(a)(2)........................................................................................... 7
                     14 Rules
                     15 Rule 5-4.3.4(a)(2)(i)................................................................................................. 19
                     16 Interim Final Rule § 2m ............................................................................. 7, 8, 16, 18
                     17
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
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                            1218505.01/LA     MOTION TO DISMISS FIRST AMENDED CLASS ACTION COMPLAINT
             Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 5 of 24 Page ID #:225



                      1                     REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
                      2         MOTION TO DISMISS FIRST AMENDED CLASS ACTION COMPLAINT
                      3               The Defendants, Fountainhead Commercial Capital, LLC and Fountainhead
                      4 SBF LLC (collectively, "Fountainhead"), submit their Reply Memorandum of Law
                      5 in further support of their Motion to Dismiss the First Amended Class Action
                      6 Complaint (D.E. 23) (together with the supporting Memorandum of Points and
                      7 Authorities (D.E. 23-1), the "Motion to Dismiss").1
                      8 I.            INTRODUCTION
                      9               Fountainhead is a non-bank lender authorized to make PPP loans. On March
                     10 28, 2020, several days before the SBA E-Tran Portal was opened and before the
                     11 Final PPP Application and Interim Final Rule were issued, the Plaintiff submitted to
                     12 Fountainhead, through Fountainhead's website, an expression of interest for a PPP
                     13 loan. Like so many other lenders, Fountainhead was inundated with such requests.
                     14 And given the overwhelming interest in the PPP program, Fountainhead – like
                     15 virtually all qualified lenders, including many of the largest financial institutions in
                     16 the world, with vastly more resources than Fountainhead2 –received far more
                     17 applications than it could underwrite, process, and submit to the SBA for final
                     18 approval.3
                     19               Given the nature of the PPP program, through which potential borrowers
                     20 could have sought a PPP loan through nearly 5,500 different participating lenders,
                     21 many potential borrowers submitted applications for PPP funding through multiple
                     22 qualified lenders. And, although the Plaintiff did not ultimately obtain a PPP loan
                     23
                     24
                            1
                                 Unless otherwise noted, capitalized terms and acronyms in this Reply
                     25          Memorandum have the meaning ascribed to them in the Motion to Dismiss.
                            2
                     26          Fountainhead itself is a small business, with fewer than thirty employees.
                            3
                     27          Fountainhead is proud to have assisted more than 8,200 small businesses obtain
                                 financing through the PPP program with an average loan size of less than
                     28          $94,000.
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             Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 6 of 24 Page ID #:226



                      1 through Fountainhead, the Plaintiff does not dispute that it submitted application
                      2 materials to at least one other lender and actually obtained a PPP loan.
                      3 Nevertheless, and despite the fact that the only specific tangible damages alleged are
                      4 "copying and printing costs," the Plaintiff has brought this putative class action
                      5 lawsuit against Fountainhead, seeking punitive damages and attorney's fees, among
                      6 other relief.
                      7               The initial Complaint in this action was entirely predicated on the erroneous
                      8 notion that a qualified lender is required to process and underwrite PPP applications
                      9 in the exact order in which the applications are received. But, as the only court to
                     10 have addressed this issue has held, there is no such requirement. PPP lenders are not
                     11 required underwrite any PPP loans or process them in any particular order. In fact, it
                     12 is well documented that PPP lenders have "prioritized" applicants in myriad ways,
                     13 including by prioritizing existing customers, veteran-owned businesses, and
                     14 businesses from certain geographic regions.
                     15               Rather than opposing Fountainhead's motion to dismiss the initial Complaint,
                     16 the Plaintiff opted to file an amended Complaint. Although this next iteration of the
                     17 Complaint retains the same erroneous "prioritization" theory, it adds two other
                     18 concepts: that Fountainhead was not "licensed" in California and that it was
                     19 "inadequately funded." These new theories are also deeply flawed. As the Plaintiff
                     20 concedes, Fountainhead was duly licensed to make PPP loans in California prior to
                     21 issuing any such loans. In the face of this impediment, the Plaintiff claims that
                     22 Fountainhead SBF LLC was required to obtain a license before even posting
                     23 educational Tweets or sending other communications that incidentally happened to
                     24 reach some Californians (though they were directed nationwide). There is no
                     25 requirement to obtain a license for this type of activity, and it borders on the absurd
                     26 to suggest that any lender anywhere in the world must obtain a California lender's
                     27 license before posting to social media. As to its funding theory, as described in more
                     28 detail below, the Plaintiff simply asserts, "on information and belief," that
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             Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 7 of 24 Page ID #:227



                      1 Fountainhead had to improperly prioritize certain applicants because it was
                      2 inadequately funded to process all applicants. But the Court should reject this theory
                      3 because it is not required to accept the Plaintiff's conclusory allegations regarding
                      4 Fountainhead's funding capacity and, even more to the point, Fountainhead's
                      5 financial capacity (which was more than sufficient) is irrelevant because the alleged
                      6 "prioritization" does not violate the CARES Act.
                      7               As to the formal causes of action themselves, the Motion to Dismiss discusses
                      8 myriad deficiencies, and the Opposition does not persuasively refute (or, in some
                      9 important instances, even attempt to address) these deficiencies. For example, with
                     10 respect to Count I for fraudulent concealment, the Motion to Dismiss explains that
                     11 the lender/borrower relationship does not give rise to a duty of disclosure that is a
                     12 key predicate to a fraudulent concealment cause of action. In its Opposition, the
                     13 Plaintiff quotes the general rule that some entities are required to disclose certain
                     14 information to counterparties (e.g., if the party has "exclusive knowledge"), but fails
                     15 to confront the more specific case law discussed in the Motion to Dismiss providing
                     16 that a lender is not the type of entity that has such a disclosure obligation. Lenders
                     17 have "exclusive knowledge" of many facts, like their internal underwriting
                     18 methodology, but are not required to (and generally do not) provide this information
                     19 to borrowers or prospective borrowers.
                     20               Counts II and III attempt to plead violations of the UCL and FAL,
                     21 respectively. The Court should dismiss these claims with prejudice under the recent
                     22 Ninth Circuit Sonner decision, which requires dismissal of equitable counts where
                     23 the plaintiff fails to plead an inadequate remedy at law. In the context of this
                     24 litigation, the analysis is not complex. The Plaintiff concedes, as it must, that the
                     25 only remedies available under Counts II and III are injunctive relief and restitution.
                     26 But the Plaintiff alleged that Fountainhead stopped making PPP loans (and the PPP
                     27 application window has closed), so there is nothing to enjoin. With respect to
                     28 restitution, that remedy requires money or property lost by a plaintiff that has
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             Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 8 of 24 Page ID #:228



                      1 enriched the defendant, but the Plaintiff never provided any money or property to
                      2 Fountainhead (and never even submitted a loan application), so there is nothing for
                      3 Fountainhead to "restore." The Plaintiff's effort to address this point – a citation to
                      4 an inapplicable District of Hawaii decision and a string citation to pre-Sonner cases
                      5 indicating that plaintiffs can plead claims in the alternative – falls flat.
                      6               In this, the second iteration of the Complaint, the Plaintiff has been unable to
                      7 remedy the deficiencies of the initial Complaint. This is not surprising because the
                      8 core theories are fundamentally defective and incapable of being cured. The
                      9 Complaint should be dismissed with prejudice.
                     10 II.           ARGUMENT
                     11               A.    The Court May Properly Consider the Entirety of the
                     12                     Communications that the Plaintiff Failed to Attach to the
                     13                     Complaint.
                     14               Before turning to the substance of the Opposition, Fountainhead wishes to
                     15 first address the Plaintiff’s position that the Court cannot consider the entirety of the
                     16 communications that were submitted in support of Fountainhead’s Motion to
                     17 Dismiss.
                     18               In the Complaint, the Plaintiff cites and quotes from several Fountainhead
                     19 emails in support of its claims. See, e.g., Cmpl. at ¶¶ 28–29. Rather than attaching
                     20 these purportedly material emails to its pleading or providing the necessary textual
                     21 context, the Plaintiff opts to selectively quote excerpts of the communications. To
                     22 provide the Court with the appropriate textual context, Fountainhead submitted, in
                     23 connection with its Motion to Dismiss, complete copies of the referenced
                     24 communications. See Farrell Decl., Exs. 1–3 (D.E. 23-2). Now, despite the centrality
                     25 of these emails to the Plaintiff's theories of recovery, the Plaintiff criticizes
                     26 Fountainhead for providing the Court with this "extrinsic evidence," and requests
                     27 that the Court "simply ignore the declaration and evidence submitted by counsel . . .
                     28 ." Plaintiff's Opposition to Defendants' Motion to Dismiss First Amended Class
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             Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 9 of 24 Page ID #:229



                      1 Action Complaint (the "Opposition") (D.E. 24) at pp. 17–18. The Plaintiff is
                      2 mistaken, and the Court may properly consider Fountainhead's emails in resolving
                      3 the Motion to Dismiss.
                      4               Although the Court is generally restricted to the "four corners" of a complaint
                      5 at the motion to dismiss stage (see id. at p. 17), the incorporation-by-reference
                      6 doctrine presents an important and well-recognized exception to this general rule.
                      7 See Motion to Dismiss at p. 3 n.8 (citing Ninth Circuit authority). Under that
                      8 doctrine, the Court may properly consider "extrinsic evidence" on a motion to
                      9 dismiss when the following conditions are present: "(1) the complaint refers to the
                     10 document; (2) the document is central to the plaintiff's claim; and (3) no party
                     11 questions the authenticity of the copy attached to the 12(b)(6) motion." Marder v.
                     12 Lopez, 450 F.3d 445, 448 (9th Cir. 2006) (collecting cases); see also, e.g., Wright v.
                     13 Allstate Ins. Co. of California, 2015 WL 1548949, at *2 (N.D. Cal. Apr. 7, 2015)
                     14 (explaining that, when the plaintiff fails to attach key documents referenced in the
                     15 complaint, "a defendant may attach to the motion to dismiss such documents in
                     16 order to show that they do not support the plaintiff's claim" (emphasis added)).
                     17               Here, the incorporation-by-reference doctrine allows the Court to consider the
                     18 entirety of Fountainhead's emails because: (i) the Complaint refers to the
                     19 communications (see, e.g., Cmpl. at ¶¶ 28–29), (ii) the emails are central to the
                     20 Plaintiff's substantive claims (see, e.g., id. at ¶ 48), and (iii) the Plaintiff has not
                     21 questioned (and cannot seriously question) the authenticity of the copies attached to
                     22 the Motion to Dismiss. See Marder, 450 F.3d at 448. The Court should thus consider
                     23 the emails in resolving the Motion to Dismiss. As discussed further below, the
                     24 complete communications – in proper context, and without selective quotation –
                     25 contradict the Plaintiff's notions of "concealment" and "reliance."
                     26               B.    The Plaintiff's Theories of Recovery Are Fundamentally Defective.
                     27               In the Motion to Dismiss, Fountainhead distilled (and then debunked) the
                     28 Plaintiff's three essential theories of recovery: (i) that Fountainhead "prioritized"
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            Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 10 of 24 Page ID #:230



                      1 higher-value and "favored" loans in alleged violation of the CARES Act, (ii) that
                      2 Fountainhead lacked adequate funding for its PPP initiative, and (iii) that
                      3 Fountainhead SBF LLC (the only defendant involved in PPP lending) did not obtain
                      4 a finance lender's license until April 21, 2020. See, e.g., Motion to Dismiss at pp.
                      5 10–14. These theories animate all of the Plaintiff's substantive causes of actions, for
                      6 fraudulent concealment (Count I) and for violation of two California consumer
                      7 protection statutes (Counts II and III). See Cmpl. at Counts I–III. In the Opposition,
                      8 the Plaintiff fails to meaningfully distinguish Fountainhead's cited authorities, or to
                      9 offer any persuasive justification for why the Court should accept the Plaintiff's
                     10 theories.
                     11               With respect to the Plaintiff's theory of unlawful "prioritization,"
                     12 Fountainhead demonstrated that, although the CARES Act codifies baseline
                     13 eligibility requirements, the legislation obviously does not require lenders to process
                     14 PPP applications on a "first come, first served" basis. Motion to Dismiss at pp. 10–
                     15 12 (citing, among other authorities, Profiles, Inc. v. Bank of Am. Corp., 2020 WL
                     16 1849710 (D. Md. Apr. 13, 2020)). The Plaintiff argues that Profiles, Inc. "provides
                     17 no assistance to Defendants" because the lending practices and "legal issue" were
                     18 different than those here. Opposition at pp. 11–12. These purported distinctions,
                     19 however, do not affect the decision's analysis of the CARES Act, under which the
                     20 Plaintiff's "prioritization" theory is simply untenable.4
                     21               In Profiles, Inc., Bank of America restricted its PPP initiative to two classes
                     22 of borrowers: those that had an existing borrowing relationship with the bank and
                     23 those that had an existing depository relationship with the bank and no borrowing
                     24
                     25
                            4
                                 The Plaintiff also asserts that "Profiles involved a TRO, an entirely different
                     26          standard and procedural posture" than this matter (Opposition at p. 12), but this
                                 position ignores that, under the TRO analysis, the District of Maryland was
                     27          required to analyze the plaintiffs' likelihood of success on the merits. Profiles,
                                 Inc., 2020 WL 1849710, at *3–*8. As discussed above, under this prong of the
                     28          TRO analysis, the court held that Bank of America did not violate the CARES
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                                 Act.
Allen Matkins Leck Gamble                                                -6-
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            Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 11 of 24 Page ID #:231



                      1 relationship with any other bank. Profiles, Inc., 2020 WL 1849710, at *2. The
                      2 plaintiffs asserted that these "gating requirements" violated the CARES Act. Id. at
                      3 *3. After determining that the CARES Act does not confer a private right of action,
                      4 the court held that Bank of America's eligibility requirements did not, in any event,
                      5 violate that legislation. Id. at *4–*8. In reaching this holding, the court examined the
                      6 text, structure, and legislative history of the CARES Act and explained that lenders
                      7 have significant flexibility in administering their PPP initiatives. See id. at *4, *7–
                      8 *8. As relevant here, the court determined:
                      9           That "[n]either the CARES Act nor the Interim Final Rule imposes
                                   prohibitions on what lenders may do in their processes for accepting or
                     10            processing applications,"
                     11           That the language of § 1102(a)(2) of the CARES Act "does not constrain
                                   banks such that they are prohibited from considering other information when
                     12            deciding from whom to accept applications, or in what order to process
                                   applications it accepts," and
                     13
                                  That, "[g]iven the plain statutory language" of the CARES Act, "the Court is
                     14            not at liberty to impose further limitations on lenders."
                     15 Id. (emphasis added). The court's interpretation of the CARES Act – equally
                     16 applicable here – dispenses with the Plaintiff's notion that the legislation prohibited
                     17 lenders, like Fountainhead, from processing PPP applications in a manner that
                     18 "prioritized" certain loans. Indeed, the District of Maryland acknowledged that
                     19 "numerous other financial institutions have imposed additional eligibility
                     20 requirements, beyond the two identified" in § 1102(a)(2), and that some lenders
                     21 have "focused" on processing loans for specific classes of borrowers. Id. at *8.
                     22               The Plaintiff's "prioritization" theory hinges entirely on an undeveloped
                     23 statement in the Interim Final Rule that the PPP is "first-come, first-served." See
                     24 Interim Final Rule § 2m. This exact argument was presented to, and rejected by, the
                     25 court in Profiles, Inc. In response to Fountainhead's position, articulated in the
                     26 Motion to Dismiss, that this statement applies to the SBA (i.e., the SBA must
                     27 process and – if appropriate, ultimately approve – the applications submitted by the
                     28 many qualified lenders on a first-come, first-serve basis) and not the private lenders
       LAW OFFICES
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            Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 12 of 24 Page ID #:232



                      1 facilitating the loans (see, e.g., Motion to Dismiss at pp. 5–6), the Plaintiff asserts
                      2 that § 2m expressly "does not except lenders from the rule." Opposition at p. 12.
                      3 Section 2m, of course, does not include private lenders in the rule, either. Nor does
                      4 the rule otherwise suggest that the "first come, first served" principle requires
                      5 lenders to process PPP applications in a literal "queue." In fact, as the District of
                      6 Maryland recognized, "[t]he Interim Final Rule lists a number of reasons why an
                      7 applicant may be deemed 'ineligible' for a PPP loan." Profiles, Inc., 2020 WL
                      8 1849710, at *4 (emphasis added). So, the Interim Final Rule itself contemplates
                      9 factors that would make it impossible for lenders to process applications in an
                     10 uninterrupted, perfectly sequential "queue."
                     11               The Plaintiff's second theory – that Fountainhead lacked adequate funding – is
                     12 an afterthought in the amended Complaint. This subsidiary theory seriously
                     13 misunderstands the operation of private lending markets, in which it is customary
                     14 for lenders like Fountainhead to obtain periodic third-party infusions to facilitate
                     15 loans. The Plaintiff's "inadequate funding" narrative is also factually misguided
                     16 because, to date, Fountainhead has been able to originate and fund approximately
                     17 $767,000,000 in PPP loans. The Court may properly reject this theory at the
                     18 pleading stage, for at least two reasons.
                     19               First, as with other key assertions in the Complaint, the Plaintiff makes its
                     20 "inadequate funding" allegations solely on "information and belief" (see, e.g., Cmpl.
                     21 at ¶ 26), and the Court is not required to accept such conclusory statements. See
                     22 Motion to Dismiss at pp. 8–9 (citing authorities). Second, the Plaintiff has pleaded a
                     23 nexus between Fountainhead's alleged "prioritization" practices and inadequate
                     24 funding, asserting that Fountainhead "prioritized" certain loans "because" it lacked
                     25 sufficient funding. See, e.g., Cmpl. at ¶¶ 22, 26, 27, 31, 32. Because Fountainhead's
                     26 alleged "prioritization" practices do not violate the CARES Act as a matter of law,
                     27 the underlying rationale for those practices is immaterial.
                     28
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            Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 13 of 24 Page ID #:233



                      1               Finally, with respect to the Plaintiff's licensing theory, Fountainhead
                      2 explained why the CFL's licensing requirement applies only to loan-making
                      3 activities, and not to the allegedly offending conduct described in the Complaint:
                      4 postings on social media and emails that happened to reach some Californians.
                      5 Motion to Dismiss at pp. 12–14. The Plaintiff does not dispute that Fountainhead
                      6 SBF LLC did not make any PPP loans in California before it obtained a license on
                      7 April 21, 2020. See Opposition at pp. 9–10. Instead, the Plaintiff cites Cal. Fin.
                      8 Code § 22162(a) for the proposition that "in order to advertise loan applications, you
                      9 must have a license." Id. at p. 9 (emphasis omitted). But the plain text of the statute
                     10 contradicts the Plaintiff's position because the statute applies only to: (i) "licensees"
                     11 and (ii) "advertisement[s] disseminated primarily in this state . . . ." § 22162(a)
                     12 (emphasis added). This statute refutes the Plaintiff's position because, at the time of
                     13 Fountainhead's Tweets and emails, Fountainhead was not (and did not need to be) a
                     14 "licensee" under the CFL, and because Fountainhead's communications were not, in
                     15 any event, "disseminated primarily" in California. The Tweets, for example, are
                     16 social media postings viewable in most parts of the world to anyone with an Internet
                     17 connection and a device with the capacity to connect to the Internet.5
                     18               Ultimately, the Plaintiff fails to articulate a persuasive justification for why
                     19 the CFL's licensing requirement can apply to Fountainhead's "solicitations" and
                     20 "advertisements." The Plaintiff posits that, through these communications,
                     21 "Defendants were engaging in the business of lending with Plaintiff." Opposition at
                     22 p. 9; see also Cal. Fin. Code § 22100(a). But the CFL as a whole, including its
                     23 exemptions, demonstrates that the purpose of the licensing requirement is to regulate
                     24 actual loan-making activities in California, in which Fountainhead indisputably did
                     25 not engage during the unlicensed period. See Motion to Dismiss at pp. 12–14. And
                     26
                     27     5
                                 Moreover, the statute expressly applies only to California "licensees," but
                     28          Fountainhead was not – and was not required to be – a licensee.
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            Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 14 of 24 Page ID #:234



                      1 as a matter of policy, the Plaintiff's reading of the licensing scheme would impose
                      2 enormous costs and extensive liability, because it would require lenders located
                      3 anywhere in the world to obtain a license before posting a single Tweet about a
                      4 lending initiative, simply because someone in California may see the Tweet. See id.;
                      5 see also Opposition at p. 9. The licensing requirement does not apply to the conduct
                      6 alleged in the Complaint.6
                      7               These misguided theories set the stage for the Plaintiff's substantive counts,
                      8 each of which fails to state a claim for the additional reasons discussed below.
                      9               C.    Count I (Fraudulent Concealment) Fails as a Matter of Law
                     10                     Because Fountainhead Did Not Owe a Duty to Disclose and
                     11                     Because There Was No Justifiable Reliance.
                     12               In the Motion to Dismiss, Fountainhead explained that Count I, which the
                     13 Plaintiff now agrees is a cause of action for common law fraudulent concealment
                     14 (despite the ambiguity in the Complaint), is mired by two incurable legal defects.
                     15 First, Fountainhead noted that, under the facts alleged in the Complaint,
                     16 Fountainhead did not have a duty to disclose its alleged "prioritization" practices,
                     17 insufficient funding, or lack of a license. Motion to Dismiss at pp. 15–17. Second,
                     18 Fountainhead explained that, given the nature and content of the relevant
                     19 communications, it was implausible for the Plaintiff to have "justifiably" relied on
                     20 Fountainhead's statements. Id. at pp. 17–18. The Plaintiff insists that it "adequately
                     21 pled" its fraudulent concealment claim (Opposition at p. 5), but the legal theories
                     22 underlying this count are irreparably misguided.
                     23
                            6
                     24          As to the Plaintiff's assertion that "[i]t was wholly fraudulent and deceptive to
                                 solicit applications" during the unlicensed period (Opposition at p. 10),
                     25          Fountainhead has fully rebutted that notion. See Motion to Dismiss at pp. 12–15.
                                 The Plaintiff's position, as discussed in the Motion to Dismiss, ignores the reality
                     26          that Fountainhead did not specifically direct its PPP initiative or any
                                 communications to Californians. See id. And, the Plaintiff's position would also
                     27          require the Court to impose a tort duty of disclosure when Fountainhead did not
                                 violate the statutory obligation on which the duty is purportedly based. See id.
                     28          These defects are fatal to any notions of "fraudulent concealment," deception,
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                                 misrepresentation, or false advertising.
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            Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 15 of 24 Page ID #:235



                      1               With respect to Fountainhead's purported duty to disclose, the Plaintiff never
                      2 meaningfully addresses the principle that, absent "special circumstances," lenders do
                      3 not owe borrowers any disclosure duty. See Motion to Dismiss at pp. 16–17 (citing
                      4 cases). Instead, the Plaintiff relies on, and argues that it sufficiently pleaded, three
                      5 prototypical circumstances in which California courts have imposed a duty to
                      6 disclose: "exclusive knowledge," "active concealment," and "half-truths."
                      7 Opposition at pp. 6–8. These three circumstances, however, "presuppose the
                      8 existence of some other relationship between the plaintiff and defendant in
                      9 which a duty to disclose can arise." Burch v. CertainTeed Corp., 34 Cal. App. 5th
                     10 341, 349 (1st Dist. 2019), reh'g denied (May 10, 2019) (internal quotation marks
                     11 and alteration omitted) (emphasis added).
                     12               As Fountainhead briefed in the Motion to Dismiss, the normal lender-
                     13 borrower transaction – in which the lender does not "exceed" its role as a "mere
                     14 money lender" – is not the type of relationship that gives rise to a duty to disclose.
                     15 See Motion to Dismiss at pp. 16–17; see also, e.g., Nymark v. Heart Fed. Sav. &
                     16 Loan Assn., 231 Cal. App. 3d 1089, 1096 (3d Dist. 1991) ("However, as a general
                     17 rule, a financial institution owes no duty of care to a borrower when the institution's
                     18 involvement in the loan transaction does not exceed the scope of its conventional
                     19 role as a mere lender of money." (collecting cases)); Mackell v. Wells Fargo Home
                     20 Mortg., 2017 WL 373077, at *7 (N.D. Cal. Jan. 26, 2017) (dismissing the plaintiff's
                     21 claims for fraud, fraudulent concealment, and negligent misrepresentation because
                     22 there was no duty to disclose by the defendant-bank). This special framework
                     23 controls even when a plaintiff attempts to avail itself of the "exclusive knowledge,"
                     24 "active concealment," and "half-truths" duties. In Hernandez v. Wells Fargo &
                     25 Company, for example, the Northern District of California analyzed these
                     26 circumstances and determined that they did not displace the lender-borrower
                     27 framework:
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            Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 16 of 24 Page ID #:236



                      1                     Nonetheless, a financial institution owes no duty to a
                      2                     borrower the institution's involvement does not exceed the
                      3                     scope of its conventional role a money lender [sic] . . . .
                      4                     Here, plaintiff alleges a duty existed because 'Wells Fargo
                      5                     stated half-truths' to plaintiffs and '[o]ne who undertakes to
                      6                     make a statement must not only state the truth, but may
                      7                     not conceal any facts' . . . . Such facts are insufficient to
                      8                     demonstrate the necessary intent to give rise to a duty,
                      9                     especially because defendant was acting in its
                     10                     conventional role as a money lender.
                     11 Hernandez v. Wells Fargo & Co., 2019 WL 3891342, at *4 (N.D. Cal. Aug. 19,
                     12 2019) (emphasis added) (internal citations omitted) (alteration in original). These
                     13 concepts are fatal to the Plaintiff's assertion that the three prototypical circumstances
                     14 supply a basis for Fountainhead's duty to disclose (see Opposition at pp. 6–8), and
                     15 thus are fatal to the fraudulent concealment theory itself.
                     16               None of the Plaintiff's cited cases supports a disclosure duty here. See id. at
                     17 pp. 8–9. Indeed, the cases reinforce Fountainhead's position regarding the lender-
                     18 borrower framework, because they involved situations in which "special
                     19 circumstances" (or other factors inapplicable here) gave rise to a duty to disclose
                     20 by the financial institution. F.D.I.C. v. Tarkanian, 2010 WL 3932074, at *7 (S.D.
                     21 Cal. Oct. 5, 2010) (holding that the counterclaimant stated a claim for fraudulent
                     22 concealment because "[t]he facts alleged support the conclusion that La Jolla Bank's
                     23 'involvement in the loan transaction . . . exceed[ed] the scope of its conventional role
                     24 as a mere lender of money'" (alteration in original)); Romero v. Countrywide Home
                     25 Loans, Inc., 2011 WL 445956, at *4 (N.D. Cal. Feb. 3, 2011) (holding that the
                     26 plaintiffs alleged sufficient facts to support a duty to disclose, in view of the
                     27 principle that "affirmative representations made in loan documents may give rise to
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            Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 17 of 24 Page ID #:237



                      1 a duty to disclose relevant information" (emphasis added)).7 Because the Plaintiff
                      2 has not pleaded (and cannot plead) the existence of any "special circumstances" or
                      3 other qualifying factors, these cases are inapposite. Fountainhead did not have any
                      4 duty to disclose under the lender-borrower framework.
                      5               Finally, with respect to the element of reliance, Fountainhead explained that
                      6 any notions of "justifiable" reliance are implausible for at least two reasons. Motion
                      7 to Dismiss at pp. 17–18. First, the Plaintiff alleged in the Complaint that it "relied"
                      8 on Fountainhead's representations in "submitting" its PPP expression of interest on
                      9 March 28, 2020, but the only emails identified in support of Count I occurred after
                     10 the Plaintiff's submission. Id. (citing Cmpl. at ¶ 48). This timeline makes it logically
                     11 impossible for the Plaintiff to have "relied" on the cited emails to submit its
                     12 application. Id. In any event, Fountainhead fully rebutted the Plaintiff's theory that
                     13 these emails somehow induced the Plaintiff into believing that it was certain to
                     14 obtain a loan from Fountainhead. Id. at p. 18; see also Opposition at p. 14. As is
                     15 apparent from the complete emails attached to the Motion to Dismiss (see Farrell
                     16 Decl., Exs. 1–3), Fountainhead never promised the Plaintiff a PPP loan or opined
                     17 about the Plaintiff's chances of obtaining funding. Motion to Dismiss at p. 18.
                     18 Indeed, Fountainhead kept applicants apprised of the "demand surge" for PPP loans,
                     19 and of the reality that it might not be feasible for Fountainhead to fulfill every
                     20 applicant's request, given the backlog of applications. Id. The nature and content of
                     21 Fountainhead's emails belie any notions of reliance, much less the "justifiable"
                     22 reliance that the Plaintiff must show.
                     23               In view of these incurable legal defects, Count I fails as a matter of law, and
                     24 the Court should dismiss this claim with prejudice.
                     25
                     26
                            7
                                 The Monaco case, cited at page 8 of the Opposition, provides little analysis of
                     27          why the lender had a duty to disclose, but the facts of the case demonstrate that
                                 Monaco (like Romero) involved allegedly misleading representations in formal
                     28          loan documents. See Monaco v. Bear Stearns Residential Mortg. Corp., 2010
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                                 WL 11460004, at *3 (C.D. Cal. May 13, 2010).
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            Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 18 of 24 Page ID #:238



                      1               D.    Counts II and III Are Also Legally Defective.
                      2               As explained in the Motion to Dismiss, Counts II and III, for violation of the
                      3 UCL and FAL, respectively, suffer from many pleading and substantive defects. Id.
                      4 at pp. 18–30. The Plaintiff's Opposition fails to provide any viable legal theory to
                      5 sustain these claims.
                      6                     i.     The Plaintiff Failed to Plead the Lack of An Adequate
                      7                            Remedy at Law, So the Equitable Statutory Claims Are
                      8                            Subject to Dismissal Under Sonner.
                      9               Fountainhead's threshold argument was that the equitable statutory claims are
                     10 subject to dismissal, because the Plaintiff failed to plead the lack of an adequate
                     11 remedy at law. Id. at pp. 19–21 (discussing, among other authorities, Sonner v.
                     12 Premier Nutrition Corp., 2020 WL 4882896 (9th Cir. June 17, 2020)). Counts II and
                     13 III should be dismissed on this basis alone. In Sonner, the Ninth Circuit held that a
                     14 federal court sitting in diversity jurisdiction "must apply traditional equitable
                     15 principles before awarding restitution under the UCL . . . ." Sonner, 2020 WL
                     16 4882896, at *5. Under these principles, the court determined, a plaintiff "must
                     17 establish that [it] lacks an adequate remedy at law before securing equitable
                     18 restitution for past harm under the UCL . . . ." Id. at *7 (collecting cases). Because
                     19 "the operative complaint [did] not allege that Sonner lack[ed] an adequate legal
                     20 remedy," and because Sonner sought the same remedy through her legal and
                     21 equitable claims, the Ninth Circuit affirmed the district court's dismissal of Sonner's
                     22 UCL claim. Id. at *8.
                     23               Here, Sonner disposes of the Plaintiff's UCL and FAL claims, given the
                     24 availability of an adequate legal remedy through the fraudulent concealment claim.
                     25 The Plaintiff, however, urges that "Sonner and its reasoning are inapplicable to this
                     26 case" because: "[h]ere, unlike Sonner, Plaintiff is not seeking the same remedies in
                     27 its different causes of action. UCL and FAL seek restitution, which will likely be
                     28 what Defendants have received, like commissions on the loans. Fraudulent
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            Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 19 of 24 Page ID #:239



                      1 concealment is seeking damages, what Plaintiffs have lost, likely costs associated
                      2 with the futile application." Opposition at p. 21. The Plaintiff's position ignores
                      3 Sonner's holding that a plaintiff must allege the lack of an adequate legal remedy in
                      4 its complaint (Sonner, 2020 WL 4882896, at *8), and it also seriously distorts
                      5 principles of restitution.
                      6               As Fountainhead explained in the Motion to Dismiss, the only remedies
                      7 available under Counts II and III are injunctive relief and restitution. Here, there is
                      8 nothing to "enjoin," because the Plaintiff has alleged that Fountainhead ceased
                      9 making PPP loans and, in any event, the PPP application window is closed. Motion
                     10 to Dismiss at p. 20. The Plaintiff never substantively contests this point in the
                     11 Opposition.
                     12               With respect to restitution, in California it requires that "'money or property
                     13 [has] been lost by a plaintiff, on the one hand, and that it [has] been acquired by a
                     14 defendant, on the other.'" Motion to Dismiss at p. 21 n.9 (quoting Kwikset Corp. v.
                     15 Superior Court, 51 Cal. 4th 310, 336 (2011)). The Plaintiff, of course, has not
                     16 alleged that it provided money or property to Fountainhead. See id. Instead, the
                     17 Plaintiff is under the mistaken impression that it can recover "ill-gotten gains"
                     18 through its statutory claims (Opposition at pp. 21–22), but California courts have
                     19 consistently rejected this remedy of "non-restitutionary disgorgement" for UCL and
                     20 FAL claims. See, e.g., In re Tobacco Cases II, 240 Cal. App. 4th 779, 800 (4th Dist.
                     21 2015). The concept of "restitutionary disgorgement," the only type of restitution
                     22 theoretically available here to restore the status quo, would replicate the damages
                     23 remedy, which the Plaintiff describes as "what Plaintiffs have lost . . . ."
                     24 Opposition at p. 21 (emphasis added). Because the Plaintiff is, in fact, "seeking the
                     25 same remedies in its different causes of action" (id.), its attempt to distinguish
                     26 Sonner fails.
                     27               Ultimately, the Plaintiff can point only to a non-binding case from the District
                     28 of Hawaii involving an unjust enrichment claim, which is inapplicable here because
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            Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 20 of 24 Page ID #:240



                      1 California courts do not recognize notions of non-restitutionary disgorgement in this
                      2 context. See id. at p. 22 (citing N.K. Collins, LLC v. William Grant & Sons, Inc.,
                      3 2020 WL 4043976 (D. Haw. July 17, 2020)). The Plaintiff also cites a string of
                      4 cases, pre-dating Sonner, which support the unremarkable proposition that a plaintiff
                      5 may plead claims in the alternative. Id. at n.5. Because Sonner is exactly on point
                      6 and controls the "adequate remedy" issue, the Court should dismiss the Plaintiff's
                      7 statutory claims, like the district court did in that case.
                      8               Even if the Court were inclined to address the merits of Counts II and III, it
                      9 would find several additional reasons to dismiss these claims.
                     10                     ii.    Count II Fails to State a Claim Under Any Prong of the
                     11                            UCL.
                     12                            a.     As to the "Unlawful" Prong, This Claim Is Legally
                     13                                   Defective Because Fountainhead Did Not Violate the
                     14                                   Predicate Laws and Regulations.
                     15               The Plaintiff alleged that Fountainhead committed three predicate acts by
                     16 violating Rule 2m of the Interim Final Rule, Cal. Fin. Code § 22100(a), and 15
                     17 U.S.C. § 52(a). Cmpl. at ¶ 57. Here and in the Motion to Dismiss, Fountainhead
                     18 presented a detailed analysis of why it did not violate those laws and regulations,
                     19 and, thus, why the Plaintiff's claim under the "unlawful" prong fails as a matter of
                     20 law. See Motion to Dismiss at pp. 21–25 (citing, among other authorities, Balzer v.
                     21 Wal-Mart Stores, Inc., 2015 WL 13828418, at *3 (C.D. Cal. Feb. 25, 2015)). In the
                     22 Opposition, the Plaintiff again invokes Rule 2m, and cites a Ninth Circuit case for
                     23 the uncontested principle that the UCL allows a plaintiff to enforce an alleged
                     24 violation of § 22100(a) (the CFL's licensing requirement). See Opposition at pp. 15–
                     25 16, 18 (citing Raceway Properties, LLC v. LSOF Carlsbad Land L.P., 157 F. App'x
                     26 959, 963 (9th Cir. 2005)). But these authorities do not obviate the argument, fully
                     27 briefed by Fountainhead, that there is no liability under the "unlawful" prong unless
                     28 the defendant has actually violated a predicate law.
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Allen Matkins Leck Gamble                                               -16-
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            Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 21 of 24 Page ID #:241



                      1               Most telling is the Plaintiff's response to Fountainhead's argument that it did
                      2 not violate 15 U.S.C. § 52(a), the federal false advertising law. See id. at pp. 16–18.
                      3 The Motion to Dismiss outlines three separate arguments as to why Fountainhead is
                      4 not liable under this law. Motion to Dismiss at pp. 22–25. But instead of addressing
                      5 the position, rooted in case law from within this Circuit, that Fountainhead's emails
                      6 to the Plaintiff are not "advertisements," the Plaintiff deflects and asks the Court to
                      7 ignore the very communications that it injected into this litigation. See Opposition at
                      8 p. 17. The Plaintiff's arguments regarding probability of deception are even more
                      9 conclusory. See id. at pp. 16–17. The Plaintiff insists that Fountainhead's statements
                     10 "were likely to mislead, and did mislead, reasonable consumers" (id.), but the
                     11 Plaintiff glosses over the reality that: (i) none of Fountainhead's communications
                     12 promised the Plaintiff a loan, (ii) the overwhelming majority of Fountainhead's
                     13 Tweets contain objective, non-actionable representations (or statements of opinion),
                     14 and (iii) no "reasonable consumer" would have believed Fountainhead's statements
                     15 to mean that it was processing PPP applications in a chronological, perfectly
                     16 sequential "queue." Motion to Dismiss at pp. 23–25. Any one of these defects allows
                     17 the Court to dispense with the Plaintiff's false advertising theory, and, ultimately,
                     18 with its claim under the "unlawful" prong.
                     19                            b.     The Plaintiff's Claim Under the "Fraudulent" Prong
                     20                                   Fails Because, Among Other Reasons, Fountainhead
                     21                                   Did Not Have a Duty to Disclose.
                     22               With respect to the "fraudulent" prong, Fountainhead likewise presented
                     23 several different arguments demonstrating the many deficiencies with this claim. Id.
                     24 at pp. 25–27. As to the issue of probability of deception, the Plaintiff's main retort is
                     25 that Fountainhead's analysis is "an improper attempt to supplant the finder of fact,"
                     26 and that "[i]t is ultimately the provenance of the finder of fact to determine whether
                     27 [Fountainhead's] representations are likely to deceive the public." Opposition at p.
                     28 20. However, this is an oversimplification of the issue that fails to address the more
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Allen Matkins Leck Gamble                                               -17-
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            Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 22 of 24 Page ID #:242



                      1 specific case law in the Motion to Dismiss that is applicable here. As briefed in the
                      2 Motion to Dismiss, although probability of deception is typically a fact question, the
                      3 Court may dismiss claims when it "can conclude as a matter of law that members of
                      4 the public are not likely to be deceived . . . ." Warner v. Tinder Inc., 105 F. Supp. 3d
                      5 1083, 1092 (C.D. Cal. 2015) (cited at pages 23 and 26 of the Motion to Dismiss). As
                      6 discussed above in connection with the Plaintiff's federal false advertising theory,
                      7 Fountainhead's emails and Tweets were not "likely to deceive" any "reasonable
                      8 consumers" as a matter of law. Motion to Dismiss at pp. 23–26.
                      9               More fundamentally, the Plaintiff completely ignores the principle – well-
                     10 established in California – that there is no liability under the UCL's "fraudulent"
                     11 prong absent a duty to disclose by the defendant. Id. at p. 27 (citing Berryman v.
                     12 Merit Prop. Mgmt., Inc., 152 Cal. App. 4th 1544, 1557 (4th Dist. 2007) and Buller
                     13 v. Sutter Health, 160 Cal. App. 4th 981, 987 (1st Dist. 2008)). Because
                     14 Fountainhead did not have a duty to disclose under California's framework for
                     15 lender-borrower dealings, the Plaintiff cannot maintain its claim under the
                     16 "fraudulent" prong. The Plaintiff, notably, says nothing about this issue.
                     17                           c.     The Plaintiff Failed to Properly Plead Its Claim Under
                     18                                  the "Unfair" Prong.
                     19               Finally, as to the "unfair" prong, Fountainhead explained that the Complaint
                     20 does not indicate, even nominally, whether the Plaintiff is traveling under the
                     21 "tethering" test or the "balancing" test. Id. at pp. 27–28. The Plaintiff does not
                     22 dispute that these approaches are an essential element of a claim under the "unfair"
                     23 prong, as they help courts identify, and define the parameters of, "unfair" business
                     24 conduct. See id. Instead, while advocating that "unfairness" is a fact question
                     25 (Opposition at p. 18), the Plaintiff simultaneously proceeds to apply both tests,
                     26 arguing that Fountainhead violated Rule 2m ("tethering" test) and that
                     27 Fountainhead's conduct was "unscrupulous, unethical, and injurious" without a
                     28 countervailing benefit to consumers ("balancing" test). Id. at p. 19. Because these
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            Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 23 of 24 Page ID #:243



                      1 allegations (however dubious) are components of the claim under the "unfair"
                      2 prong, the Plaintiff is required to formally plead them in the Complaint. See Motion
                      3 to Dismiss at p. 27 (citing Palmer v. Apple Inc., 2016 WL 1535087, at *7 (N.D. Cal.
                      4 Apr. 15, 2016)).
                      5                     iii.   Count III Fails to State a Claim for a Violation of the FAL,
                      6                            for Several Reasons.
                      7               Finally, with respect to the FAL claim, the Motion to Dismiss itemizes the
                      8 many pleading and substantive deficiencies with this count. Id. at pp. 28–30. In the
                      9 Opposition, the Plaintiff only rehashes Fountainhead's communications (Opposition
                     10 at pp. 20–21), and it completely fails to address Fountainhead's arguments – any one
                     11 of which is dispositive – that Count III contains improper boilerplate without any
                     12 factual development, or that Fountainhead's communications to the Plaintiff are not
                     13 "advertisements" under the FAL, or that the relevant communications are not, in any
                     14 event, misleading as a matter of law. Motion to Dismiss at pp. 29–30; see also id. at
                     15 pp. 23–26. And, as in other parts of the Opposition, the Plaintiff does not even
                     16 attempt to address the principle that there is no liability under the FAL absent a duty
                     17 to disclose. Id. at p. 30 (citing Hodson v. Mars, Inc., 891 F.3d 857, 867–68 (9th Cir.
                     18 2018)). That duty, as discussed above, does not exist here, thus eroding the
                     19 foundation of the Plaintiff's false advertising theory.
                     20 III.          CONCLUSION
                     21               For all of the reasons discussed here and in the Motion to Dismiss,
                     22 Fountainhead respectfully requests that the Court dismiss the Complaint, with
                     23 prejudice. Fountainhead also requests that the Court order any other relief that it
                     24 believes proper.
                     25               Under Local Rule 5-4.3.4(a)(2)(i), the filer hereby attests that all other
                     26 signatories listed concur in this content's filing and have authorized this filing.
                     27
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Allen Matkins Leck Gamble                                               -19-
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            Case 2:20-cv-04149-DDP-RAO Document 25 Filed 08/31/20 Page 24 of 24 Page ID #:244



                      1 Dated: August 31, 2020                         Respectfully submitted,
                      2                                                SHUTTS & BOWEN LLP
                                                                       200 S. Biscayne Blvd., Ste. 4100
                      3                                                Miami, Florida 33131
                      4                                                Tel: (305) 358-6300
                                                                       Attorneys for Fountainhead SBF LLC and
                      5                                                Fountainhead Commercial Capital, LLC
                      6                                                By:      /s/ Daniel T. Stabile
                                                                       Daniel T. Stabile
                      7                                                dstabile@shutts.com
                      8                                                (Admitted pro hac vice)

                      9
                                                                       ALLEN MATKINS LECK GAMBLE
                     10                                                MALLORY & NATSIS LLP
                     11                                                865 S. Figueroa St., Ste. 2800
                                                                       Los Angeles, California 90017
                     12                                                Tel: (213) 622-5555
                                                                       Attorneys for Fountainhead SBF LLC and
                     13                                                Fountainhead Commercial Capital, LLC
                     14                                                By:      /s/ Michael R. Farrell
                     15                                                Anthony J. Oliva (Bar No. 123971)
                                                                       toliva@allenmatkins.com
                     16                                                Michael R. Farrell (Bar No. 173831)
                                                                       mfarrell@allenmatkins.com
                     17                                                Stacey A. Villagomez (Bar No. 317081)
                     18                                                svillagomez@allenmatkins.com

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                     21
                     22
                     23
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                     25
                     26
                     27
                     28
       LAW OFFICES
Allen Matkins Leck Gamble                                               -20-
   Mallory & Natsis LLP
                                            DEFENDANTS' REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
                            1218505.01/LA     MOTION TO DISMISS FIRST AMENDED CLASS ACTION COMPLAINT
